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UN|TED STATES DlSTR|CT COURT

WESTERN DlSTR|CT OF TENNESSEE

EASTERN DlV|SlON

UN|TED STATES OF AMER|CA

.v.

03-10033-01-T

CURT|S JERONE MURPHY

Flizi) el ccc D_C_
05 JUL 29 PH 3: 21,

 

Larg¢ Fitzgeraid,l Retained

Defense Attorney

22 North Second Street,

Memphis, TN 38103

Room 410

 

JUDGMENT lN A CR|M|NAL CASE

(For Oi"fenses Committed On or After November 1, 1987)

The defendant was found guilty on Count 1, 2, 3, and 6 of the indictment on October 08,
2003. According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):

Titie & Section
21 USC 841(3)(1)

21 usc 841(3)(1)

18 USC §924(0)(1),(2)

13 usc §922(9)

Date Offense Count

Number(s)

 

Nature of Offense Conc|uded
Possession of Cocaine Base with 03/26/2003

intent to Distribute

Possession of Marijuana with |ntent 03/26/2003
to Distribute

Possession of a Firearm During and 03/26/2003
in Reiation to a Drug Trafficking
Crime

Convicted Felon in Possession of a 03/26/2003
Firearm Shipped in interstate
Commerce

1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

The defendant has been found not guilty on count(s) 4.

iT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

This document entered on the docket sheet in com iiance
with Rule 55 andfor 32(b) FRCrP on ..%_l_a_\_®_i

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Case No: 1:03-10033"01-T Defendant Name: Curtis Jerone |Vlurphy Page 2 of 6
Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 02119/1981 July 29, 2005
Deft’s U.S. Niarshal No.: 19027-076

Defendant's Mailing Address:
795 P|easant Valley Road
Union City, TN 38261

JAME _/D. Tooo

CH| UN|TED STATES DlSTR|CT JUDGE

July 95 , 2005

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Case No: 1103-10033-01-T Defendant Name: Curtis Jerone Murphy Page 3 of 6
|MPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 170 months as to Count 1 of the |ndictment, a term
of 60 months as to Count 2, a term of 120 months as to Count 6, ali to run concurrently
and 60 months as to Count 3, to run consecutively to all other Counts, for a total of 230
Months.

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States iViarshal.

RETURN

l have executed this judgment as foliows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN[TED STATES MARSHAL
By:

 

Deputy U.S. i\/larshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 5 years as to Counts 1 , 2 and 3 and 3 years as to Count6, alito run concurrently.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition1 or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court

STANDARD COND|T|ONS OF SUPERV|S|ON

1. the defendant shall not leave the judicial district without the permission of the court or probation officer;

2. the defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. the defendant shall answer truthful all inquiries by the probation officer and follow the instructions of the
probation officer;

4. the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. the defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. the defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance. or any paraphernalia related to such
substances1 except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. the defendant shall not frequent places where controlled substances are illegally sold, used, distributed ,
or administered;

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8. the defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law
enforcement officer;

11. the defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. as directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply With the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient andfor inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse.

2. The defendant shall assist the probation office in the collection of DNA as directed by the
Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythefoliowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Totai Assessment Totai Fine Totai Restitution

$400.00

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The Speciai Assessment shall be due immediateiy.
FlNE
No fine imposedl

REST|TUT|ON

No Restitution Was ordered.

UNITED `SETAT DlSTRICT COUR - WESTERN DTRCT 0 TESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 138 in
case 1:03-CR-10033 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Larry E. Fitzgerald
FITZGERALD & HARRIS
22 N. Second Street

Ste. 410

Memphis7 TN 38103

Victor Lee Ivy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jaekson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

